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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                                 No. CV-19-00239-PHX-GMS
10                  Plaintiff,                         ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                  Defendants.
14
15
16           Pending before the Court is Plaintiff’s Unopposed Motion to Modify Deadline for

17   Completion of Fact Discovery (Doc. 38) and good cause appearing therefore,
18           IT IS HEREBY ORDERED granting the Unopposed Motion to Modify (Doc. 38).

19   The deadlines set forth in the April 12, 2019 Case Management Order (Doc. 14), as

20   modified by the Court’s October 8, 2019 Order (Doc. 29) and January 27, 2020 Order (Doc.
21   37) amending certain deadlines, are further modified as follows:
22           The deadline for final supplementation of MIDP responses and the completion of

23   fact discovery, including discovery by subpoena shall be filed no later than March 20,

24   2020.

25           All other deadlines set forth in the April 12, 2019 Case Management Order (Doc.

26   14) as modified by the Court’s October 8, 2019 Order (Doc. 29) and January 27, 2020
27   Order (Doc. 37) shall remain in full force and effect.
28   ///
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 1         IT IS FURTHER ORDERED that the deadlines shall not be further extended
 2   absent compelling circumstances.
 3         Dated this 24th day of February, 2020.
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